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                      IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               EASTERN DIVISION

In re FIRSTENERGY CORP.                  )      No. 2:20-cv-03785-ALM-KAJ
SECURITIES LITIGATION,                   )
                                         )      CLASS ACTION
This Document Relates To:                )
           ALL ACTIONS.                  )      Judge Algenon L. Marbley
                                         )      Magistrate Judge Kimberly A. Jolson
                                         )
                                         )      NOTICE OF SERVICE OF
                                         )      SUBPOENA ON PARTNERS FOR
                                         )      PROGRESS



       Defendant, Michael J. Dowling, hereby gives notice of filing the attached service

of subpoena upon Partners for Progress on May 4, 2022.

                                             Respectfully submitted,


                                          /S/ John F. McCaffrey
                                          John F. McCaffrey (0039486)
                                          John A. Favret (0080427)
                                          Hannah M. Smith (0090870)
                                          Tucker Ellis LLP
                                          950 Main Avenue, Suite 1100
                                          Cleveland, OH 44113
                                          Office:    (216) 592-5000
                                          Fax:       (216) 592-5009
                                          E-mail:    john.mccaffrey@tuckerellis.com
                                                     john.favret@tuckerellis.com
                                                     hannah.smith@tuckerellis.com

                                          Attorneysfor Defendant Michael J. Dowling
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                               CERTIFICATE OF SERVICE
         A copy of the foregoing was filed electronically on May 10, 2022. Notice of this

 filing will be sent to all electronically registered parties by operation of the Court's

 electronic filing system. Parties may access this filing through the Court's system.

                                             /S/ John J. McCaffrey
                                             John F. McCaffrey (0039486)
                                             John A. Favret (0080427)
                                             Hannah M. Smith (0090870)

                                             Attorneysfor Defendant Michael J. Dowling




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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                              Southern District of Ohio

         In re FirstEnergy Corp. Securities Litigation
                                Plaintiff
                                   v.                                                  Civil Action No.        2:20-cv-03785-ALM-KAJ

                                                                                       (If the action is pending in another district, state where:
                               Defendant

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
                             C/O Fritz E. Berckmueller, Esq.
  To: Partners for Progress,
      1405 East Sixth Street, Cleveland, Ohio 44114-1607

      L' Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
 deposition to be taken in this civil action. If you are an organization that is not a party in this case, you must designate
 one or more officers, directors, or managing agents, or designate other persons who consent to testify on your behalf
 about the following matters, or those set forth in an attachment:
   See Exhibit A

  Place                                                                                 Date and Time:
          : Tucker Ellis, LLP
            950 Main Avenue, Suite 1100, Cleveland, Ohio 44113                                               06/08/2022 9:30 am


           The deposition will be recorded by this method:                    Court Reporter & video

       'Production: You, or your representatives, must also bring with you to the deposition the following documents,
          electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
          material:
See attached Exhibit A




         The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
 45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
 attached.

 Date:       05/04/2022
                                   SANDY OPACICH, CLERK OF COURT
                                                                                           OR

                                            Signature of Clerk or Deputy Clerk                                       Attorney's signature

  The name, address, e-mail, and telephone number of the attorney representing (name ofparty)      Michael J. Dowling
                                                                          , who issues or requests this subpoena, are:
John F. McCaffrey, Esq.
Tucker Ellis LLP, 950 Main Avenue, Suite 1100, Cleveland, Ohio 44113
john.mccaffrey@tuckerellis.com / (216) 592-5000
    Case: 2:20-cv-03785-ALM-KAJ Doc #: 273 Filed: 05/10/22 Page: 4 of 14 PAGEID #: 6136


AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 2:20-cv-03785-ALM-KAJ

                                                    PROOF OF SERVICE
                     (This section should not befiled with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)                   ?04""tv‘("id%      64A- PATRAA
was received by me on (date)              S(     41(2 4 b 0




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                     „ricfr
                served the subpoena 1iy delivering co y to the nat3ed individual as follow :


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                                      e41,5 104,u- L'                                      on (date)
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                                                                                                                     f; or
                                                                                                                               eari-tre
                                                                                                                               ez)

          71 I returned the subpoena unexecuted because:



          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day's attendance, and the mileao allowed b law, the p.mount of //'
                                                                                                         K      "-W
                                             &VC            (Ai        ,°`./64(•rc-              , •e(Pt
My fees are $                                      for travel ad                             ors v es, for a total of $      0.00


          I declare under penalty of perjury that this information is true.


Date:
                                                                                              Server's si



                                                                                            Printed name and title



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Additional information regarding attempted service, etc:
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 AO 88A (Rev. 06/09) Subpoena to Testify at a Deposition in a Civil Action (Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
 (c) Protecting a Person Subject to a Subpoena.                                   (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                       (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
 person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
 duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
 earnings and reasonable attorney's fees — on a party or attorney                  course of business or must organize and label them to correspond to
 who fails to comply.                                                             the categories in the demand.
    (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
    (A) Appearance Not Required. A person commanded to produce                    Specified. If a subpoena does not specify a form for producing
 documents, electronically stored information, or tangible things, or             electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the             produce it in a form or forms in which it is ordinarily maintained or
 place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
 for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
    (B) Objections. A person commanded to produce documents or                    Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                  electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                            (D) Inaccessible Electronically Stored Information. The person
 inspecting, copying, testing or sampling any or all of the materials or          responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and             (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party's                (A) Information Withheld A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                        (i) expressly make the claim; and
quash or modify a subpoena that:                                                      (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party's officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                  (B) Information Produced If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert's opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert's study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party's officer to incur         subpoena. A nonparty's failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
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                                         Exhibit A
   I.      Definitions and Instructions

        In responding to the subpoena the following definitions apply:

           A.     "You," "Your," "Yourself" and "Partners For Progress" refer to the recipient

   of this subpoena, Partners For Progress, Inc., a Delaware corporation constituted in

   February 2017, including its principals, partners, directors, signors, board members,

   representatives, agents, fiduciaries, predecessors in interest, successors in interest, and

   anyone acting on its behalf.

           B.     "FirstEnergy" refers to FirstEnergy Corp., FirstEnergy Service Company,

   FirstEnergy Solutions (n/k/a Energy Harbor Corp.), and any and all of their agents,

   officers, employees, representatives, predecessors in interest, successors in interest, and

   anyone acting on their behalf.

           C.     "Generation Now" refers to a Delaware corporation and 501(c)(4)

   constituted in January 2017, including its principals, partners, directors, signors, board

   members, representatives, agents, fiduciaries, predecessors in interest, successors in

  interest, and anyone acting on its behalf.

           D.    "Document" or "Documents" has the same full meaning as construed by

  Federal Rule of Civil Procedure 34, and includes without limitation the original (or

  identical duplicate when the original is not available) and all non-identical copies

  (whether non-identical because of notes made on copies or attached comments,

  annotations, marks, transmission notation, or highlighting of any kind) and drafts of all

  writing, whether handwritten, typed, printed or otherwise produced, and includes,

  without limitation, letters, correspondence, memoranda, legal pleadings, notes, reports,
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  agreements, calendars, diaries, travel and expense records, summaries, records,

  messages or logs of telephone calls, conversations, interviews, speeches, presentations,

  historical overviews, studies, plans, minutes, marketing materials, newsletters, expert

  reports, strategic assessments, statistical analyses or compilations, surveys, evaluations,

  competitive analyses, investigative or other reports, telegrams, mailgrams, microfiche,

  facsimile transmissions (including cover sheets and confirmations), electronic mail,

  minutes or records of meeting, compilations, notebooks, laboratory notebooks, work

  papers, books, pamphlets, brochures, circulars, manuals, instructions, sales, advertising

  or promotional literature or materials, ledgers, graphs, charts, blue prints, drawings,

  sketches, photographs, film and sound reproductions, recordings of any kind, or any

  other tangible materials on which there is any recording or writing of any sort. The term

  also includes the file, folder tabs, and/or containers and labels appended to, or associated

  with, any physical storage device associated with each original and/or copy of all

  Documents requested herein.

         E.     "Communication" means, without limitation, the imparting or exchange of

  information, thoughts or opinions by any means including orally, in writing, by signs

  signals or code, including oral, written or electronic communications, such as face-to-

  face meetings, electronic communications, emails, facsimiles, telephone

  communications, correspondence or other exchange or written or recorded information.

  The phrase "communication between" is defined to include instances where one party

  addresses the other party but the other party does not necessarily respond.

         F.     "Relating to" means, without limitation, discussing, describing, reflecting,

  dealing with, pertaining to, analyzing, evaluating, estimating, embodying, identifying,

  constituting, concerning, containing, mentioning, stating, evidencing, studying,

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  surveying, projecting, assessing, recording, summarizing, criticizing, reporting,

  commenting or otherwise involving, in whole or in part.

  II.      Instructions

        In addition to the requirements set forth in the Federal Rules of Civil Procedure,

  which are incorporated herein, the following instructions apply to the request set forth

  below:

           A.     The Request is continuing in nature so that if You subsequently discover or

  obtain possession, custody, or control of any Document previously requested or required

  to be produced, You shall promptly make such Document available.

           B.     The Request includes Documents, data and information stored

  electronically, magnetically, or in machine-readable format. To the extent responsive

  Documents or data are maintained in an electronic format, including but not limited to

  on a disk, tape, hard drive, flash drive, steady state drive, or other magnetic or machine-

  readable format, please produce the electronic version along with manuals and all other

  Documents sufficient to operate, display, read and interpret the programs, Documents or

  data.

           C.     You should construe the Requests as follows: (1) the singular includes the

  plural and the plural includes the singular; (2) the masculine, feminine, or neuter

  pronoun includes the other genders; (3) the conjunctions "and" and "or" should be read

  either disjunctively or conjunctively to bring within the scope of the request all

  information that might otherwise be construed to be outside its scope; (4) the words

  "any" and "all" shall include each and every; and (5) the present tense of a verb includes

  its past tense and vice versa.



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         D.     All Documents produced in paper form should be numbered sequentially,

  with unique number on each page, and with a prefix identifying the party producing the

  Document.

         E.     Documents shall be produced in such fashion as to identify the

  department, branch or office in whose possession they were located and, where

  applicable, the natural person in whose possession they were found and the business

  address of each Document's custodian.

         F.     If You object to any part of these Document Requests, please (a) state each

  objection you assert in sufficient detail to permit the Court to determine the validity of

  the objection; and (b) produce all responsive Documents to which Your objection does

  not apply.

         G.     If You redact, or otherwise exclude (such as making the name of a person

  in a recording unintelligible), any portion of Documents (including recordings)

  requested, identify each redaction made and provide the reason for each redaction in

  sufficient detail to assess the validity of the claim for redaction.

         H.     If any requested Document was, but is no longer in Your possession or

  subject to Your control, or is no longer in existence, You must identify the Document

  and state whether it (1) has been destroyed, (2) has been lost or misplaced, or (3) has

  never been or is no longer in your possession, custody or control in which case the name

  and address of the individual or entity known or believed to have been in possession,

  custody or control of that Document or category of Documents should be identified. In

  each instance, explain the circumstances surrounding the disposition and the identity of

  all persons You believe to have knowledge of such disposition.



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          I.     If You claim the attorney-client privilege or any other privilege, work-

   product protection, or other protection for any Document, identify with reasonable

   particularity: (1) the Document, (2) the general nature of its contents, (3) the individual

   who created the Document, (4) all recipients of the Document (both intended and

   unintended), (5) the privilege that forms the basis of withholding the Document, and (6)

   the Request(s) for production to which the Document is responsive.

   III.   Documents to be Produced

          A.     Documents relating to the formation and operation of Partners For

   Progress, including but not limited to:

                 i. Communications to and from the Internal Revenue Service;

                ii. Communications to and from the State of Ohio or any government

                    official or government entity in the State of Ohio;

                iii. Form 1024-A or Form 8896, or documents or communications related

                    to either Form 1024-A or Form 8896;

                iv. Any 990-series tax document, whether in draft form or otherwise, filed

                    with the Internal Revenue Service, or any documents or

                    communications related to any 990-series tax filing;

                 v. Documents or Communications related to required filings by the

                    Federal Communications Commission;

                vi. Any advertisements, commercials, or other public communications

                    paid for by Partners For Progress, whether Partners For Progress

                    directly paid for the advertisement, commercial, or public

                    communication, or Partners For Progress made an expenditure to



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                  another entity to pay for the advertisement, commercial, or public

                  communication;

              vii. Documents or Communications related to compliance with applicable

                  federal, state and local tax and/or campaign finance laws and

                  regulations;

             viii. Documents or Communications related to any filing with federal, state,

                  or local entity or agency, including, but not limited to, campaign

                  finance registration and reporting or lobbying registration and

                  reporting;

              ix. Documents or Communications related to the stated purpose(s)

                  (including any revisions or changes) of Partners For Progress;

               x. Documents or Communications related to board meeting minutes,

                  board resolutions, or any other record of board decisions or board

                  actions;

              xi. Documents or Communications related to contributions received

                  and/or expenditures made by Partners For Progress;

              xii. Bank statements;

             xiii. Financial reports and summaries;

             xiv. Any Documents provided to any contributor to Partners For Progress

                  regarding the purpose or use of any contribution to Partners For

                  Progress; and

              xv. Any Documents regarding earmarked contributions to Partners For

                  Progress or any other individual or entity.



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          B.           Documents relating to Communications between and among Michael

   VanBuren and Partners For Progress.

          C.           Documents relating to Communications between and among FirstEnergy

   and Partners For Progress.

          D.           Documents relating to Communications between Partners For Progress

   and Calfee Halter & Griswold LLP.

          E.           Documents relating to Communications between Partners For Progress

   and Generation Now.

          F.           Documents relating to any expenditures by Partners For Progress.

          G.           Documents relating Partners For Progress's decisional process for making

   contributions, disbursements, or the expenditure of funds.

          H.           Documents relating to Partners For Progress's decisional process involved

   when considering, denying or postponing a contribution, disbursement, or expenditure

   of funds.

          I.           Documents produced to the Department of Justice and/or the U.S.

   Securities and Exchange Commission in response to a subpoena or in response to a

   request for the production of documents.

          J.           Documents produced to any third party pursuant to a request (written or

   verbal) for documents on or after July 21, 2020 to the date of this request.

          K.           Documents relating to Communications with any one or more of the

   following:

                  i.         Jeff Longstreth

                ii.          Brooke Bodney

                iii.         Larry Householder

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               iv.     Neil Clark

               v.      Juan Cespedes

               vi.     Matt Borges

              vii.      Representatives from Hardworking Ohioans, Inc.

             viii.      Representatives from Ohioans for Energy Security, LLC.

               ix.      Representatives from The Success Group

               x.       Representatives from the Coalition for Growth & Opportunity, Inc.

               xi.      Representatives from Growth and Opportunity PAC, Inc.

              xii.      Representatives from Liberty Ohio, Inc.

             xiii.      Representatives from Consumers Against Deceptive Fees

             xiv.       Representatives from Jobs and Progress Fund

              xv.       Representatives from Protecting Ohio, Inc.

             xvi.       Eric Lycan

            xvii.      McKenzie Davis

            xviii.     Dan McCarthy

             xix.      Scott Davis


   IV.    Deposition Subject Matters

           In accordance with Federal Rule of Civil Procedure 3o(b)(6), you are advised of
   your duty to designate one or more of your officers, directors, employees, managing
   agents or other persons most qualified to testify on your behalf with respect to any and
   all facts concerning the following:

   Topic No. 1: Circumstances and events leading to the formation of Partners For
   Progress.

   Topic No. 2: Circumstances concerning the purpose and operation of Partners For
   Progress, including but not limited to, contributions, disbursements and/or the
   expenditure of funds.


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   Topic No. 3: Circumstances concerning the relationship with, communications with,
   interactions with Michael VanBuren as a Director of and one of the legal counsel to
   Partners For Progress.

   Topic No. 4: Circumstances concerning the relationship with, communications with,
   interactions with FirstEnergy.

   Topic No. 5: Circumstances concerning the relationship with, communications with,
   interactions with Calfee Halter & Griswold LLP.

   Topic No. 6: Circumstances concerning the relationship with, communications with,
   interactions with Generation Now.

   Topic No. 7: Circumstances concerning the relationship with, communications with,
   interactions with FirstEnergy.

   Topic No. 8: Circumstances concerning obligations to, communications with,
   interactions with the Department of Justice and/or the U.S. Securities and Exchange
   Commission in response to a subpoena or in response to a request for the production of
   documents.

   Topic No. 9: Circumstances concerning obligations to, communications with,
   interactions with any third party pursuant to a request (written or verbal) for documents
   on or after July 21, 2020 to the date of this subpoena.

   Topic No. 10: Circumstances concerning the relationship with, communications with,
   interactions with the individuals identified above in Section III.K.i.-xix.

   Topic No. 11: Circumstances concerning how Partner For Progress documents were
   generated, maintained, and/or kept, including but not limited to, the manner in which
   documents were identified and produced in compliance with the requests identified
   above in Section III.




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